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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                     Case Number: 22-20707-MC-MARTINEZ-BECERRA


 FARHAD AZIMA,

        Applicant,

 v.

 INSIGHT ANALYSIS AND RESEARCH
 LLC and SDC-GADOT,

       Respondent.
 __________________________________/

                     ORDER OF REFERENCE TO MAGISTRATE JUDGE
        PURSUANT to 28 U.S.C. ' 636(b) and the Magistrate Rules of the Local Rules of the
 Southern District of Florida, the above-captioned cause is referred to United States Magistrate
 Judge JACQUELINE BECERRA to take all necessary and proper action as required by law with
 respect to:
        All matters relating to Non-Party’s Motion to Quash Subpoena and Service of
 Subpoena, and Motion for Protective Order, (ECF No. 7).
        ORDERED AND ADJUDGED that it is the responsibility of the parties in this case to
 indicate the name of the Magistrate Judge on all motions and related papers referred by this order
 in the case number caption (CASE NO.: 22-20707-MC-MARTINEZ-BECERRA).
        DONE AND ORDERED in Chambers at Miami, Florida, this 3rd day of May, 2022.




                                                     ____________________________________
                                                     JOSE E. MARTINEZ
                                                     UNITED STATES DISTRICT JUDGE
 Copies provided to:
 Magistrate Judge Becerra
 All Counsel of Record
